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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Eastern Division

UNITED STATES OF AMERICA

 

-vs- Case No. l:05cr10065-001T

JAMAINE MARDELL TIPLER

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Governrnent, it is ORDERED that a detention hearing is set for
TUESDAY, AUGUST 23, 2005 at 2:15 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom No. 2, Fourth Floor, United States Courthouse and Federal Building, 1 l l
South l-Iighland, lackson, TN. Pending this hearing, the defendant shall be held in custody by the
United States l\/larshal and produced for the hearing

Date: August 19, 2005 ,-~
§S. mthl 6 ~_)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

 

'lt`not held immediately upon del`endant's l'irst appearance, the hearing may be continued t`or up to three days upon
motion ot` the government, or up to five days upon motion ofthe defendant 18 U.S.C. § 3142(\‘)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3 142(1') are present Subseclion (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion ot`the attorney I°or the government or upon thejudicial officer's own motion, ifthere is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstructjustice, or threaten, injure, or intimidate or attemptto threaten,
injure, or intimidate a prospective witness orjuror.

AO 4?0 (BIBS) Order olTemporary Detention

This document entered on the docket sheet in oompngn¢¢
with ama ss and/or 32(1>} Fnc,p on 08 '.,13 _ 05

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:05-CR-10065 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

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Honorable J ames Todd
US DISTRICT COURT

